                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF LOUISIANA
                                  NEW ORLEANS DIVISION

    WRIGHT’S WELL CONTROL                    §
    SERVICES, LLC                            §   CIVIL ACTION NO. 2:15-CV-1720
                                             §
    Plaintiff,                               §   JUDGE SARAH VANCE
                                             §
                                             §   MAGISTRATE JUDGE KNOWLES
                                             §
    v.                                       §
                                             §   JURY TRIAL DEMANDED
    OCEANEERING INTERNATIONAL,               §
    INC., AND CHRISTOPHER MANCINI,           §
    INDIVIDUALLY                             §
                                             §
         Defendants.                         §


   PLAINTIFF’S MEMORANDUM IN SUPPORT OF MOTION TO DE-DESIGNATE
         DOCUMENTS AND MODIFY PROTECTIVE ORDER (DOC. 87)

         NOW COMES Plaintiff Wright’s Well Control Services, LLC (“WWCS” or “Plaintiff”),

and respectfully requests, pursuant to the Stipulated Protective Order (Doc. 87) and Rule 26(c),

that this Court De-Designate Oceaneering International, Inc.’s (“OII” or “Oceaneering”) and

Christopher Mancini’s (“Mancini”) (collectively “Defendants”) documents from “Highly

Confidential” to “Confidential” and modify the Court’s Protective Order to eliminate

Defendants’ right to self-designate documents as “Highly Confidential.” Wherefore, Plaintiff

WWCS respectfully shows the Court as follows:

                                    Summary of Argument

         The Stipulated Protective Order in this case allows each party to make good faith

designations regarding the confidentiality of its own documents. See Doc. 87 at ¶ 3 (each

designation is attached to an affirmative representation that each document produced with a

confidentiality designation “has been reviewed by Counsel and that there is a good faith basis for
such designation”). Each party making a designation is mandated to “limit designations of

Confidential and Highly Confidential Information to only those parts of documents, testimony or

material that are clearly identified as containing Confidential or Highly Confidential

Information.” Doc. 87 at ¶ 6. In blatant disregard for the Stipulated Protective Order (Doc. 87),

which was mutually executed by all parties in this case, Defendants seek to protect almost every

single document, file, and page it has produced thus far in this case as Highly Confidential,

improperly shifting the burdens under the Protective Order to WWCS.                Defendants have

designated nearly every document produced thus far as “Highly Confidential.” One practical

result of this action, in addition to being a bad faith violation of the obligations of the Protective

Order, is that Plaintiff’s representatives cannot review the documents in preparation for

depositions, mediation, settlement discussions, or any other aspect of this case. The Protective

Order requires Plaintiff’s counsel to notify Defendants of all Highly Confidential documents

desired to be disclosed to WWCS representatives. By designating virtually every document as

Highly Confidential, it assures that Defendants will have prior knowledge of every document

Plaintiff’s counsel desires to share with its representatives, giving Defendants an inside look at

how Plaintiff’s counsel may be preparing its case. Despite Plaintiff’s counsel’s best efforts,

counsel for OII and Mancini have refused to lower the confidentiality designation of any of its

documents. This over-designation ignores the express letter and spirit of the Stipulated Protective

Order and, absent voluntary or Court Ordered de-designation, would require WWCS to seek the

Court’s review of every single document that OII has refused to de-designate to determine

whether each document has been properly designated, as opposed to the reasonable self-

designation anticipated. WWCS seeks de-designation of the documents, modification of the



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     protective order, and other allowable sanctions against Defendants, which have all been

     appropriately levied to thwart such actions in prior jurisprudence.

                                                           Facts

               On May 21st, 2015 WWCS sued Oceaneering and Mancini for violating a non-disclosure

     and non-use agreement, trade secret misappropriation, patent infringement, and other related

     claims.

               After each party served requests for production, the parties worked together to draft and

     file a Stipulated Protective Order with the Court pursuant to Rule 26(c). (Doc. 87).

               More than five months after WWCS served Defendants with requests for production,

     Defendants finally produced their initial responsive documents in the form of thousands of

     individual pages and native files. Following the initial production, Defendants subsequently

     produced another set of responsive documents in the form of thousands of individual pages and

     native files.

I.       The Stipulated Protective Order (Doc. 87)

               The Stipulated Protective Order (Doc. 87) specifically requires the producing party to

     make an affirmative representation that each document produced with a confidentiality

     designation “has been reviewed by Counsel and that there is a good faith basis for such

     designation.” Doc. 87 at ¶ 3. In order to designate information as Highly Confidential, OII and

     Mancini are representing, through counsel, that they have a good faith argument that disclosure

     of the information to WWCS, or any other party, “is likely to create a substantial risk of serious

     harm to the Disclosing Party that could not be avoided by less restrictive means.” Doc. 87 at ¶ 5.

               The Stipulated Protective Order also contains separate protections for confidential

     information that does not meet the “substantial risk” test, including “trade secrets or other

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      confidential research, development, financial, proprietary or commercial information that may be

      subject to a protective order or qualify for protection” under the Rules but that will not create a

      substantial risk of harm to Oceaneering by its disclosure. Doc. 87 at ¶ 2. Even if a document

      might otherwise be entitled to protection, information disclosed to the public and information

      previously known to the receiving party is not protectable as “Confidential” much less as

      “Highly Confidential.” See Id. at ¶¶ 2(a)(i) and 3(a-d).

              The Protective Order mandates that the producing party “limit designations of

      Confidential and Highly Confidential Information to only those parts of documents, testimony or

      material that are clearly identified as containing Confidential or Highly Confidential

      Information.” Doc. 87 at ¶ 6.

II.       Defendants’ Production

              Of the total 54,169 responsive pages and native files Defendants produced, a remarkable

      53,492 (98.75%) are designated as Highly Confidential and another 521 (0.96%) are designated

      as Confidential. Only 95 pages (0.18%) of the entirety of Defendants’ production has not been

      designated as confidential or highly confidential.

              Oceaneering’s wholesale designation of almost every document produced as not just

      “Confidential” but as “Highly Confidential,” suggests that designation was done without any

      discernible review or evaluation of the content of the documents.

              From a cursory review of the documents, it is clear that the vast majority should not be

      Highly Confidential and are improperly designated.                   For instance, documents created by

      Plaintiff have been designated as Highly Confidential; information from projects on which

      Plaintiff worked has been designated Highly Confidential; documents disclosed to third parties

      have been designated Highly Confidential, documents previously disclosed to Plaintiff have been

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designated as Highly Confidential, information from years ago has been designated Highly

Confidential, and almost every single document produced by Oceaneering has been designated

Highly Confidential. See Exhibits 1, 2, and 7-31 (listed and described in more detail below).

None of this information can be protected as Highly Confidential.

        It is also clear that several of the documents are not even Confidential, as that term is

defined in the Stipulated Protective Order. Defendants designated documents as “Confidential”

that are publically available (internet websites), third party operations manuals, blank pages, and

pages with nothing but company logos. For instance, Defendants designated an animation as

Highly Confidential (Ex. 01, OII 36328) and Plaintiff has found the exact same animation posted

on    YouTube       since    2014      (https://www.youtube.com/watch?v=aAL0GDbgk1s).     Plaintiff

additionally requested an inspection of Defendants’ system and Defendants’ claimed that any

review of the physical structure should be protected as Highly Confidential. To try and move

forward with the case, Plaintiff agreed to make the inspection with only counsel and one expert.

Defendants also claimed that all photos taken of the system should be Highly Confidential and

have refused to allow Plaintiff’s representatives to review the system.             However, after

completing the inspection, Plaintiff discovered that Oceaneering has allowed very similar images

on third party websites for PUBLIC viewing. See Ex. 02, Oct. 27, 2016 Letter to Russell

Primeaux requesting explanation of an inspection photo and a publicly available marketing

photo. Ironically, Defendants explanation for the public version is that it was “presumably”

vetted by Oceaneering personnel prior to being published. Ex. 03, Nov. 3, 2016 email from

Russell Primeaux. Defendants are, by the Protective Order charged with vetting the documents,

not outright blocking Plaintiff from any and all access. The same information that is not

confidential on the one hand cannot, in good faith, be confidential on the other.

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        From the volume of the designations and blatant disregard for any standard set out in the

Protective Order or ordinarily required by Rule 26(c), it is clear that Defendants lack the

requisite good faith in their designation. As a result, Defendants have violated the Court’s Order

that requires them to “limit designations of Confidential and Highly Confidential Information to

only those parts of documents, testimony or material that are clearly identified as containing

Confidential or Highly Confidential Information.” Doc. 87 at ¶6.

        Plaintiff has had multiple phone calls related to this issue with Defendants and also sent

detailed correspondence about the impropriety. On October 7, 2016 Defendants sent a response

e-mail to WWCS denying Defendants’ burden to identify which document or part of the

document is highly confidential. Ex. 04. As a follow up to a prior telephone conference between

the parties discussing the Highly Confidential designations on Defendants’ production, WWCS

sent Defendants a detailed letter on November 10, 2016, citing case law showing that Defendants

did not meet their burden of marking only documents that Defendants have reviewed and for

which they have a good faith basis to designate as Highly Confidential. Ex. 05. In response to

this letter, Defendants sent WWCS an e-mail on November 29, 2016 continuing to deny any

designation as Highly Confidential as being inappropriate. Ex. 06. Defendants continuously

refuse to re-designate or designate the documents in good faith.

                                        Arguments and Authorities

        In general, “there are three different types of protective orders: (1) the narrowest type

protects specific, identified information which the court has reviewed and has determined that

“good cause” exists for such an order; (2) the disfavored “umbrella” protective order that

designates all discovery as protected, without review or determination of “good cause” by the

parties or the court; and (3) a “blanket” protective order which allows the parties to protect those

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     documents which they in good faith believe contain trade secrets or other confidential

     commercial information and which are usually agreed to by the parties and approved of by the

     courts. In re Enron Corp. Sec., Derivative & ERISA Litig., No. CIV.A. H-01-3624, 2009 WL

     3247432 at *2 (S.D. Tex. Sept. 29, 2009).

             The Stipulated Protective Order in this case is of the third, “blanket,” variety and allows

     the parties to identify information they contend, in good faith, requires protection.

             When entering a blanket protective order, the courts trusts that the parties will comply

     with the duty to designate only material which they believe, in good faith, merits the level of

     protection assigned. Otherwise, a time consuming and voluminous document-by-document

     review will be required. Blanchard & Co., Inc. v. Barrick Gold Corp., 02-3721, 2004 WL

     737485, at *10 (E.D. La. Apr. 5, 2004).

             The Protective Order in this case is considered a “blanket” protective order, “which

     allows the parties to protect those documents which they in good faith believe contain trade

     secrets or other confidential commercial information and which are usually agreed to by the

     parties and approved of by the courts.” See In re Enron 2009 WL 3247432 at *2.

I.       Analogous Prior Opinion - THK Am., Inc. v. NSK Co. Ltd.

             In THK, the protective order included designations for “Confidential Materials” and

     “Attorneys Eyes Only” materials. THK Am., Inc. v. NSK Co. Ltd., 157 F.R.D. 637, 640-41 (N.D.

     Ill. 1993). The “Confidential Materials” designation was defined as “any document, or any

     portion thereof, which contains information that is a trade secret or other confidential research,

     development or commercial information, within the meaning of Rule 26(c)(7), Fed.R.Civ.P.” Id.

     at 641. The “Attorneys Eyes Only” designation “was for a small discrete group of ‘extremely

     confidential’ documents within the larger category of confidential materials.” Id. The Attorneys

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Eyes Only designation “was never intended to be the most frequently used designation. Rather, it

was intended to be used for extremely sensitive trade secrets and, thus, to be used sparingly.” Id.

at 641 and 643 (“Paragraph 7 of the proposed protective order concerned “Confidential

Materials which the designating party or its counsel considers to be extremely confidential

[which] shall, in addition to the designation set forth in paragraph 3, be labeled or marked with a

designation containing the words ‘Attorney’s Eyes Only.’” Clearly, as the very language of

defendants’ proposed protective order reflects, “For Attorney’s Eyes Only” documents were to

be an extremely discrete number of documents from within the category of ‘confidential

materials’”). By making the distinction, and including the “Attorney Eyes Only” designation as a

subset of the “Confidential Materials” category, it was unequivocally clear that “[o]nly the

extremely confidential materials from within the trade secrets or other confidential research,

development or commercial information was to be designated “For Attorney’s Eyes Only.” Id. at

643. The very two tiered structure presupposes that documents that may be competitively

damaging if disclosed do not rise to the level of “extremely confidential” based on the inclusion

of “trade secret or other confidential research, development or commercial information” in the

ordinary “Confidential Materials” tier of information. Id. at 643-44.

        In THK, the court makes clear that it is the producing party’s obligation and

responsibility “to ensure that the proper confidential designations are assigned to the documents

produced.” Id. at 644. In THK, the defendants produced between 75,000 and 90,000 pages of

documents. Id. at 645. Of the produced documents, the defendants produced approximately

25,000 with no designation, approximately 11,000 as “confidential,” and approximately 39,000

as “Attorneys Eyes Only.” Id. The Court noted that producing roughly 79% of the confidential

documents as extremely confidential, as the THK defendants did, is “absurdly high” and “stands

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the protective order on its head.” Id. (“What was intended by the very language of the Protective

Order to be a very limited category reserved for specially sensitive documents has become the

most used category by far in the lawsuit. Rather than operating as a limited exception, the

“Attorney’s Eyes Only” designation has been used by the defendants almost four times more

than the lower confidentiality designation”). The THK court went on to describe the conduct as

“a blatant misuse of the ‘Attorney’s Eyes Only’ designation” and “is not due to inadvertence or

mistake.” Id. As other evidence of the bad faith and blatantly improper designations, the THK

court noted defendants’ improper designation of: “documents which they did not author, but

which were authored by (a third party) anywhere from 9 to 13 years ago;” “published, publicly

available documents, among which are catalogues, patents, books, magazines, technical journals

and newspaper articles;” “customer documents that are innocuous and far from current;” and

internal “confirmation letters regarding employee seminars, responses to business invitations,

requests for permission to attend business trips and internal memos regarding public seminars.”

Id. at 645-47 (including noting specific reasons as to why each such category cannot be

extremely confidential).

        The THK court also discussed a reasonable remedy for such over designation in the most

restrictive category as requiring the producing party to re-designate in a very short time period.

Id. at 647. However, in THK, where 79% of the confidential documents, and 52% of the entire

production, were designated as Attorneys Eyes Only, the Court determined the above cited

remedy as “too mild for defendants’ egregious and contemptuous conduct” and modified the

protective order to void the defendants’ right to make any Attorneys Eyes Only classifications.

Id. (i.e., the Court limited the defendants’ production to either confidential or not confidential.)

The Court additionally ordered that all other documents be reclassified as such within 10 days.

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      Id. at 650-51 (requiring designations to be re-done by August 16th, when the order was signed

      August 6th). The Court finally assessed attorney fees and costs against the Defendants under:

      Rule 37 (to plaintiff as the prevailing party in a discovery dispute); as a sanction for “deliberate

      and calculated disregard of the (court’s) discovery orders;” under Rule 16(f) (for failing to obey

      court orders); and pursuant to the court’s inherent power to regulate litigation and enforce its

      own orders. Id. at 651.

II.       Application of THK to the facts and Protective Order in This Case

              The Protective Order in this case contains a similar structure to the two-tiered THK

      protective order. Like the THK protective order, the Protective Order allows designation of

      documents as Confidential or Attorneys Eyes Only (Highly Confidential). As in THK, such a

      structure presupposes that the highly confidential category is a subset of the ordinary confidential

      category only reserved for the rare instance where disclosure of the confidential information

      creates “a substantial risk of serious harm” to the disclosing party by further disclosure. If

      ordinary trade secret, financial information, and other confidential information were intended to

      be included in the highly confidential designation, they would not have been included in the

      express definition of “Confidential Information”. See Doc. 87 at ¶2(a). Thus, like the order in

      the THK case, the Stipulated Protective Order Defendants agreed to enter in this case allowed for

      production of “trade secrets” and other potentially competitively damaging information through

      the ordinary “Confidential” designation.

              While THK described its facts as “egregious and contemptuous conduct,” such that the

      ordinary remedy would not suffice, the facts in this case are even more egregious. In THK, the

      defendants produced approximately 50% of all documents and 79% of all confidential

      documents as highly confidential. In this case Defendants produced over 95% of all

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documents as “Highly Confidential.” The sheer volume of the documents designated as

“Highly Confidential,” and the abundance of documents which, on their face, are very obviously

not Highly Confidential proves Defendants failed to meet their initial burden of reviewing the

documents and limiting their designations to only those documents or portions of documents

that, in good faith, actually contain “Highly Confidential” information. Not only did they make

the initial production in bad faith, but Defendants also refused to make any de-designations

despite several attempts by Plaintiff to conference on the issue. In addition to the absurd number

of documents designated as Highly Confidential, Defendants in this case have produced similar

types of documents with the same improper designation relied upon by the THK defendant.

Specific examples of categories of documents the THK court defined as not highly confidential,

which Oceaneering and Mancini have improperly designated as highly confidential in this case

include:

             a) Documents created by Plaintiff (Ex. 07, OII 131-132; Ex. 08, OII 1114);

             b) Documents sent by Defendants to Plaintiff (and in some cases even signed
                by Plaintiff’s representative) (Ex. 09, OII 1115-1125; Ex. 10, OII 1139-
                1156);

             c) Documents created by third parties, including data sheets, procedures, and
                operating manuals (Ex. 11, OII 1219-1228; Ex. 12, OII 1451-1465; Ex.
                13, OII 1520-1525; Ex. 14, OII 1741; Ex. 15, OII 3198-3209; Ex. 16, OII
                10335; Ex. 17, OII 28072-28080; Ex. 18, OII 8539-8549);

             d) Generic internal information or generic information exchanged with
                customers, suppliers or vendors (Ex. 19, OII 2890; Ex. 20, OII 8697; Ex.
                21, OII 9036; Ex. 22, OII 9294; Ex. 23, OII 10329; Ex. 24, OII 2996);

             e) Documents from several years ago (Ex. 25, OII 6-9 (letter from 2009
                job));

             f)    Documents used on jobs in which WWCS participated and had access to
                  (Ex. 26, OII 133-577)

             g) Generic lists and information (Ex. 27, OII 8474);

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                    h) Pictures of generic worksite images (Ex. 28, OII 6373; Ex. 29, OII 7757);
                       and

                    i) Websites printed off the internet (Ex. 30, OII 597, Ex. 31, OII 698-699).

               Just as was the case with the documents produced in THK, none of the above examples

       constitute extremely sensitive information such that it would pose a substantial risk of serious

       harm to Defendants if Plaintiff’s representatives were to review it. Plaintiff’s small sampling of

       improperly designated documents is just that and is not meant to be exhaustive. The production

       is riddled throughout with similarly situated documents, and Defendants lack any reasonable

       basis to contend that almost 99% of its produced documents are of the character that Plaintiff’s

       representatives should not be able to review them due to a risk of substantial harm to

       Defendants’ business.

III.       De-Designation is Required

               The Stipulated Protective Order in this case does contain provisions for de-designation,

       but those provisions are only invoked after the producing party complies with its burden of good

       faith designation. If all parties act in good faith, and a dispute arises, the Protective Order sets out

       a detailed procedure to bring the designation issue to the Court’s attention and should result in an

       in camera review of the challenged documents the parties cannot agree upon. In this case,

       because of Defendants’ conduct, if that procedure were carried out at this point, the Court would

       have to review tens of thousands of improperly marked pages.

               That burden was not intended under the Stipulated Protective Order which was instead

       designed to remove such a review from the Court’s docket and place it in the capable hands of

       the attorneys. Defendants’ counsel is more than capable of properly designating Defendants’

       documents, which further suggests that this is a calculated and blatant attempt to thwart



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      Plaintiff’s trial and deposition preparation.1 De-designation is required to allow Plaintiff’s

      counsel to disclose this information to WWCS to move this case forward.

                 The only reasonable outcome, based on Defendants’ continued refusal to comply, is

      Court mandated de-designation of all documents previously designated.

IV.         Modification of the Protective Order is Required

                 While there is no Fifth Circuit precedent for modifying a protective order in these

      circumstances, a commonly accepted approach involves consideration of whether good cause

      existed for entry of the initial protective order; whether the protective order entered is narrow or

      broad; the foreseeability of the requested modification; and the parties’ reliance on the protective

      order. See In re Enron, 2009 WL 3247432 at *3 (citing Holland v. Summit Autonomous, Inc.,

      No. CIV. A. 00-2313, 2001 WL 930879, at *2–3 (E.D. La. Aug. 14, 2001).

                 There is no dispute that good cause existed for the initial entry of the Stipulated

      Protective Order, as there is no dispute that this case involves confidential information. There is

      also no dispute that the parties are relying on the order as all parties have utilized its designations

      and seek to protect their own confidential information.

                 The Protective Order’s blanket nature makes it subject to challenge and modification. See

      In re Enron, 2009 WL 3247432 at *3-4. The blanket nature also shifts the power to designate

      information as protected from the Court to the parties, and the stipulated order was executed with

      the understanding that the parties would act in good faith. Thus, there was nothing foreseeable

      about Defendants’ complete lack of good faith that led to the requested modification, as all

      litigants are required to treat each other with good faith and not act in bad faith in their dealings

      1
          Defendants’ counsel recently sent a request for dates to depose Plaintiff’s representative as well as David Wright,
          individually. However, to this point none of Plaintiff’s representatives have been able to view the Defendants’
          production and Plaintiff cannot adequately prepare for such depositions without de-designation.

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with each other and the Court. Reviewing each of the factors discussed in In re Enron, supra,

modification is required to protect Plaintiff’s ability to prepare its case and move it to a

resolution. Modification will also prevent the Court from having to review the entirety of

Defendants’ production to determine whether any of it is entitled to protection.

        Defendants’ conduct is, like the conduct in THK, of the sort that ordering de-designation

alone is insufficient to thwart further conduct. If it is absurd to suggest, as did the THK court,

that 50% of documents can be extremely confidential in nature, Defendants have created a new

level of absurdity by claiming 98% of its documents will cause substantial risk of serious harm if

disclosed to WWCS. Plaintiff has no doubt that a percentage of the documents may be

confidential in nature (as the definition broadly includes “trade secrets or other confidential

research, development, financial, proprietary or commercial information that may be subject to a

protective order or qualify for protection”), but those documents can be protected with the lower

tiered “Confidential” designation. Defendants are clearly acting in bad faith to delay Plaintiff’s

preparation and the ultimate resolution of this case.

        Defendants produced their second set of documents after this issue had already been

raised about the Defendants’ first production, and yet the second production contained more

Highly Confidential documents, on a percentage basis, than did the first. If Defendants are

allowed to continue with self-designation, the result will be the same with any further document

production. Oceaneering has yet to produce any emails from its server, and Plaintiff anticipates

that production to be more important and likely larger than the prior two.

                                                     Prayer

        “Courts are too overburdened with heavy caseloads and backlogs to be taxed by parties

engaging in uncooperative, dilatory, and obstructionist litigation tactics, or similar strategiem

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designed to increase the litigation expenses of the opposing party. The risks for engaging in such

conduct must be substantial in order to act as an effective deterrent.” THK Am., Inc. v. NSK Co.

Ltd., 157 F.R.D. 637, 645 (N.D. Ill. 1993).

        Based on the foregoing, Plaintiff respectfully requests that Defendants’ “Highly

Confidential” designations be stricken and replaced with “Confidential” designations. Plaintiff

also respectfully prays that the Stipulated Protective Order be modified to exclude Defendants

from any further right to designate documents as “Highly Confidential.” Plaintiff also prays that

Defendants be required to pay all of Plaintiff’s costs and fees associated with this issue and for

any other relief the Court deems appropriate given the egregious nature of Defendants’ conduct.



Dated: January 4, 2017

                                                              Respectfully submitted,

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                                      CERTIFICATE OF SERVICE

        I hereby certify that the foregoing document has been filed on this 4th day of January,

2017, pursuant to the electronic filing requirements of the United States District Court for the

Eastern District of Louisiana, which provide for service on counsel of record in accordance with

the electronic filing protocols in place.


                                                              /S/ CONRAD S.P. WILLIAMS, III
                                                              WILLIAMS LAW GROUP, LLC




PLAINTIFF’S MOTION TO DE-DESIGNATE
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